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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA                       Hon. Stanley R. Chesler


                                                Criminal No. 07-143 (SRC)
 V.


 MARCKESE STEWART
                                                ORDER REQUIRING
                                                ACCOMODATION FOR
                                                ATTORNEY TELEPHONE
                                                CONFERENCES




                This matter having been opened to the Court by Bruce S. Rosen, appointed

 counsel for Markese Stewart, with consent of the United States (Melissa L. Jampo
                                                                                 l, Asst,
U.S. Attorney appearing), and the Court finding good cause for the issuance
                                                                                  of this
Order, and it is,

                ORDERED that South Woods State Prison in Bridgeton, N.J. be required

to provide inmate Markese Stewart, inmate number 590649/ SBI 00015
                                                                  0812C, with
telephonic access to his attorney, Bruce S. Rosen, no later than 11 am. Tuesda
                                                                               y, March
22, 2011 and at such other times through March 24, 2011 as required by Mr.
                                                                             Rosen, with
two-hour notice to prison officials.

               SO ORDERED



                                       ThON. STANLEY R. CHESLER, U.S.DJ.


Dated
